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                           UNITED STATES DISTRICT COURT
                              DISTRICT OF MINNESOTA

________________________________________________________________________

United States of America,                              Criminal No. 10-288 (8) (RHK/JSM)

              Plaintiff,                                             ORDER

v.

Anthony George Masieniec,

           Defendant.
________________________________________________________________________


       Before the Court is Defendant’s Motion for Review and to Amend Detention

Order; the Motion is opposed by the Government. Following the Defendant’s

arraignment and detention hearing, Magistrate Judge Noel ordered him detained. In so

doing, Judge Noel determined that the statutory presumption, applicable in this case, that

no condition or combination of conditions of bond would reasonably ensure the safety of

the community and the appearance of the Defendant at future Court hearings, had not

been rebutted by the Defendant. Judge Noel’s conclusions followed an evidentiary

hearing at which Defendant was represented by counsel.

       The Court has reviewed de novo the proceeding before Judge Noel, and has had

the benefit of a transcript of the November 8, 2010, hearing before Judge Noel. Based on

that transcript and all the files, records and proceedings herein, the Court will affirm

Judge Noel’s detention ruling. There was supporting evidence before Judge Noel to

support his findings, the statutory presumption of detention had not been rebutted, and his

legal conclusions are fully supported by controlling case law.
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   Accordingly, and upon all the files, records and proceedings herein, IT IS

ORDERED:

   1. Defendant’s Motion for Review and to Amend Detention Order (Doc. No. 73) is

      DENIED; and

   2. The Order of Detention as to Defendant Masieniec (Doc . No. 50) is AFFIRMED.

Dated: December 6, 2010

                                         s/Richard H. Kyle
                                         RICHARD H. KYLE
                                         United States District Judge
